Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 1 of 14 Page|D 4

 

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IN THE UNITED sTATEs DISTRICT coURT _ "
FOR THE wEsTERN DISTRICT oF TENNESSEE 05 JUL gi A !0_
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CARLOS L. RICE,

Petitioner,
Vs. No. 05-2376-D/V
DAVID MILLS,

Respondent.

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ORDER OF DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Petitioner Carlos L. Rice, Tennessee Department of
Correotion prisoner number 259965, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a p;g §§
petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254
on May 19, 2005, along with a motion seeking leave to proceed in
;Q;ma pauperis. On May 31, 2005, the Court issued an order denying
leave to proceed in ;Q;mg pauperis and directing the petitioner to
pay the habeas filing fee within thirty days. Rice paid the filing
fee on June 14, 2005. The Clerk shall record the respondent as WTSP

warden DaVid Mills.

This document entered on the dockets at r? c
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Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 2 of 14 Page|D 5

I. STATE COURT PROCEDURAL HISTORY

On or about February 23, 1996, Rice entered a guilty plea
in the Shelby County Criminal Court to one count of first degree
felony murder and one count of attempt to commit second degree
murder. He received an effective sentence of life imprisonment with
the possibility of parole. Rice did not take a direct appeal.

Rice apparently filed a p;g §§ petition pursuant to the
then-current version of the Tennessee Post-Conviction Procedure
Act, Tenn. Code Ann. §§ 40-30-201 to -222, in the Shelby County
Criminal Court on or about January 1, 1997 in which he alleged,
inter alia, that he had received ineffective assistance of counsel.
Counsel was appointed to represent Rice, but Rice contends he was
“coerced” by counsel of record into withdrawing the petition. The
petition. was then dismissed or denied. without an evidentiary
hearing.

On or about July 13, 2004, Rice filed a p;g se motion
seeking to reopen his postconviction petition in order to litigate
his ineffective assistance claim. On July 23, 2004, the
postconviction court issued an order dismissing the motion as time
barred. The Tennessee Court of Criminal Appeals affirmed. Rice v.

State, NO. W2004-02043-CCA-R3-PC, 2005 WL 940570 (Tenn. Crim. App.

 

Apr. 22, 2005).
Rice contends that, on or about March 15, 2005, he filed

another motion to reopen his postconviction petition to assert a

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 3 of 14 Page|D 6

claim pursuant to Blakely v. Washington, 124 S. Ct. 2531 (2004).
Rice asserts that the postconviction court “declined to consider
the merits of the Petitioner’s motion to reopen post conviction
proceedings, pursuant to a new rule of law, and as such, absent an
official order of dismissal, the Petitioner could not pursue an
appeal therefrom.” Memorandum of Law in Support of Petitioner's
Petition for Writ of Habeas Corpus, filed May 19, 2005, at 6.
II. PETITIONER’S FEDERAL HABEAS CLAIMS

In this federal habeas petition, Rice raises the
following issues:

1. Whether the corrective process afforded during his
state postconviction proceedings, and plea
proceedings, was so clearly deficient as to render
futile any effort to obtain relief;

2. Whether his conviction and sentence resulted from
the ineffective assistance of counsel, rendering
the guilty plea involuntary' because induced by

coercion, manipulation, threats, or promises;

3. Whether the indictments were so fatally defective
that they would offend the Constitution; and

4. Whether the sentence of life imprisonment with the
possibility of parole, as a Range I standard
offender, is inconsistent with Blakely.

III. ANALYSIS OF THE MERITS
The first issue to be considered is the timeliness of
this petition. Twenty-eight U.S.C. § 2244(d) provides:
(l) A 1-year period cf limitation shall apply to an
application for a writ of habeas corpus by a person
in custody' pursuant to the judgment of a State

court. The limitation period shall begin to run
from the latest of_

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 4 of 14 Page|D 7

(A) the date on which the judgment became final by
the conclusion of direct review or the
expiration of the time for seeking such
review;

(B) the date on which the impediment to filing an
application created by State action in
violation of the Constitution or laws of the
United States is removed, if the applicant was
prevented from filing by such State action;

(C) the date on which the constitutional right
asserted was initially recognized by the
Supreme Court, if the right has been newly
recognized by the Supreme Court and made
retroactively applicable to cases on
collateral review; and
(D) the date on which the factual predicate of the
clain1 or claims presented could have been
discovered through -the exercise of due
diligence.
(2) The time during which a properly filed application
for State post-conviction or other collateral
review with respect to the pertinent judgment or
claim is pending shall not be counted toward any
period of limitation under this subsection.
Petitioners whose convictions became final before the effective
date of the AEDPA had a one-year grace period, until April 24,
1997, to seek federal habeas relief. Brown v. O'Dea, 187 F.3d 572,

577 (Gth. Cir. 1999), vacated. on. other' grounds, 530 U.S. 1257
(2000).

Application of these provisions in this case is fairly
straightforward. State convictions ordinarily become “final” within
the meaning of § 2244(d)(1)(A) at the expiration of the time for
filing a petition for a writ of certiorari from a decision of the

highest state court on direct appeal. Bronaugh v. Ohio, 235 F.3d

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 5 of 14 Page|D 8

280, 283 (6th Cir. 2000). Rice did not take a direct appeal, so his
conviction became final no later than the expiration of the time
for taking a direct appeal.1 In Tennessee, with certain exceptions
that are not applicable here, a notice of appeal must be filed
within thirty days of the entry of judgment. Tenn. R. App. P. 4(a).
In this case, Rice's convictions became final on March 23, 1996.
Rice v. State, 2005 WL 940570, at *1. Because his conviction became
final prior to the AEDPA, Rice had until April 23, 1997 to file a
timely § 2254 petition. The running of the limitations period was
tolled, pursuant to 28 U.S.C. § 2244(d)(2), when Rice filed his
postconviction petition on or about January 1, 1997. By that time,
two hundred fifty-two (252) days of the limitations period had run.

The record does not disclose when Rice’s original
postconviction petition was dismissed and, therefore, it is not
possible to calculate precisely when the running of the limitations
period recommenced. Whenever that event occurred, Rioe had only one
hundred thirteen (113) days in which to file a timely § 2254
petition. Rice took no further action until July 13, 2004, when he
filed his motion to reopen his state postconviction petition.

According to the Tennessee Court of Criminal Appeals, that motion

 

was filed “over seven years after the first dismissal.” Rice v.

1 §§§ Sanchez-Castellano v. United States, 358 F.3d 424 (6th Cir. 2004)
(§ 2255 motion); see also United States v. Cottage, 307 F.3d 494, 499 (6th Cir.
2002) (“when a § 2255 movant does not pursue a direct appeal to the court of
appeals, his conviction becomes final either on the date that the judgment was
entered . . . or on the date on which the time for filing such appeal expired”;

describing the latter as the “majority view”).

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Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 6 of 14 Page|D 9

State, 2005 WL 940570, at *2. Accordingly, the first, second, and
third issues raised in Rice's petition are plainly time barred.2
The one-year limitations period applicable to § 2254

motions is subject to equitable tolling. Griffin v. Roqers, 308
F.3d 647, 652-53 (6th Cir. 2002); see also Dunlap v. United States,
250 F.3d 1001, 1004 (6th Cir. 2001) (equitable tolling also applies
to § 2255 motions). Five factors are relevant to determining the
appropriateness of equitably tolling a statute of limitations:

(1) the petitioner’s lack of notice of the filing

requirement; (2) the petitioner's lack of constructive

notice of the filing requirement; (3) diligence in

pursuing one’s rights; (4) absence of prejudice to the

respondent; and (5) the petitioner’s reasonableness in

remaining ignorant of the legal requirement for filing

his claim.
Dunlap, 250 F.3d at 1008.3

The Sixth Circuit has stated that “equitable tolling

relief should be granted only sparingly.” Amini, 259 F.3d at 500;
see also Vroman v. Brigano, 346 F.3d 598, 604 (6th Cir. 2003);
Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003).

Typically, equitable tolling applies only when a

litigant's failure to meet a legally-mandated deadline
unavoidably arose from circumstances beyond that

 

3 Section 2244(d)(1) provides that the limitations period.begins to run

from the latest of the four specified circumstances. In this case, however, an
examination of Rice's first three issues reveals no basis for concluding that the
limitations period commenced at any time later than the date on which his
conviction became final.

 

3 This five-factor standard is identical to the test used to determine

whether equitable tolling is appropriate in other contexts, including employment
discrimination cases. Amini v. Oberlin Collece, 259 F.3d 493, 500 (6th Cir.

2001) (citing Dunlap); Truitt v. County of Wayne, 148 F.3d 644, 648 (6th Cir.
1998) .

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 7 of 14 Page|D 10

litigant's control. . . . Absent compelling equitable

considerations, a court should not extend limitations by

even a single day.
Graham-Humphrevs v. Memphis Brooks Museum, Inc., 209 F.3d 552, 560-
61 (6th Cir. 2000); see also Kinc v. United States, 63 Fed. Appx.
793, 795 (6th Cir. Mar. 27, 2003); Johnson v. U.S. Postal Serv.,
NO. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988) (refusing tO
apply equitable tolling when.p;g_se litigant missed filing deadline
by one day). Thus, ignorance of the law by prp §§ litigants does
not toll the limitations period. Price v. Jamrog, 79 Fed. Appx.
110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed.
Appx. 682, 685-86 (6th Cir. Jan. 22, 2003); Miller v. Cason, 49
Fed. Appx. 495, 497 (6th Cir. Sept. 27, 2002) (“Miller's lack of
knowledge of the law does not excuse his failure to timely file a
habeas corpus petition."); Brown v. United States, 20 Fed. Appx.
373, 374 (6th Cir. Sept. 21, 2001} (“Ignorance of the limitations
period does not toll the limitations period.”); gfé Jurado, 337
F.3d at 644-45 (lawyer’s mistake is not a proper basis for
equitable tolling).4

Rice cannot satisfy his burden of demonstrating that

equitable tolling would be appropriate in this case. Although Rice

asserts, on the one hand, that he was “coerced” by counsel into

 

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See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a
petitioner does not have a right to assistance of counsel on a habeas appeal

. , and because an inmate's lack of legal training, his poor education, or even
his illiteracy does not give a court reason to toll the statute of limitations
. . , we are loath to impose any standards of competency on the English
language translator utilized by the non-English speaking habeas petitioner.”).

7

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 8 of 14 Page|D 11

withdrawing his first postconviction petition, he argues, on the
other hand, that he did not receive a copy of the order dismissing
or denying his petition and he did not realize his petition had
been dismissed until, at some unspecified date, “his loved ones”
contacted the postconviction court. This allegation makes little
sense, as it naturally follows that, having made the decision to
withdraw his postconviction. petition, a dismissal order~ would
follow at some point. Moreover, in light of the seven-year delay
between the dismissal of Rice's postconviction petition and the
filing of his motion to reopen, Rice was not diligent in protecting
his rights. gee Pace v. DiGugliolmo, 125 S. Ct. 1807, 1815 {2005).

Accordingly, the Court DISMISSES the first, second, and
third issues as time barred.

ln his fourth claim for relief, Rice challenges his
sentence in light of the Supreme Court's decision in §lakely_y;
Washington,r 125 S. Ct. 2531 (2004), which was issued less than one
year before the filing of this petition. Rice would presumably take
the position that the one-year limitations period with respect to
this claim commenced on the date the decision in MJ_.§[ was
issued. §ee 28 U.S.C. § 2244(d)(1)(C). Thus, the Supreme Court has
held that a new constitutional rule has been “made retroactively
applicable to cases on direct review” only if the Supreme Court has
so held. Tyler v. Cain, 533 U.S. 656, 662 (2001). Applying that

standard, each circuit court of appeals that has considered the

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 9 of 14 Page|D 12

issue has held that Blakely has not been made retroactive to cases

on collateral review. Green v. United States, 397 F.3d 101, 103 (2d

 

Cir. 2005) (per curiam); Carmona v. United States, 390 F.3d 200,

202-03 (2d Cir. 2004) (per curiam}; Cook v. United States, 386 F.3d

 

949, 950 (9th Cir. 2004); Cuevas v. Derosa, 386 F.3d 367 (1st Cir.
2004) (per curiam); Leonard v. United States, 383 F.3d 1146, 1148
(10th Cir. 2004) (per curiam); Simpson v. United States, 376 F.3d
679y 681-82 (7th Cir. 2004); In re Dean, 375 F.3d l287, 1290 (llth
Cir. 2004). Although the Sixth Circuit has not issued a decision
addressing the issue, the Sixth Circuit previously held that the
Supreme Court's decision in Apprendi v. New Jersev, 530 U.S. 466
(2000), a precursor to Blakely, had not been made applicable to
cases on collateral review. In re Clemmons, 259 F.3d 489, 492-93
(6th Cir. 2001).

As Rice has not satisfied his burden of demonstrating
that his Blakely claim was timely pursuant to 28 U.S.C. §

2244(d)(1)(C), his fourth issue is time barred and is DISMISSED.5

 

5 It also does not appear that Rice is entitled to relief on his

Blakely claim for another reason. “As a general rule, new constitutional
decisions are not applied retroactively to cases that were finalized prior to a
new Supreme Court decision." Goode v. United States, 305 F.3d 378, 383 (6th Cir.
2002}; sep Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26 (2004) (holding that
decision in Ring v. Arizona, which held that a sentencing judge in a capital case
may not find an aggravating factor necessary for imposition of the death penalty,
and that the Sixth Amendment requires that those circumstances be found by a
jury, does not apply retroactively to cases on collateral review); Teague v.
Lane, 489 U.S. 288 (1989). Applying these standards, the Sixth Circuit has held
that Blakely issues cannot be raised in an initial motion pursuant to 28 U.S.C.
§ 2255. Humphress v. United Statesr 398 F.3d 855, 860-63 (6th Cir. 2005). By the
same reasoning, a state prisoner whose conviction became final before the
decision in Blakely was issued may not obtain relief under Blakely.

 

9

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 10 of 14 Page|D 13

IV. APPEAL ISSUES

The Court must also determine whether to issue a
certificate of appealability (“COA”). The statute provides:

(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals from-

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises

out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph. (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult ParOle Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (diStriCt
judges may issue certificates of appealability under the AEDPA). No
§ 2254 petitioner may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the

Supreme Court stated that § 2253 is a codification of the standard

announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which

 

requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been

resolved in a different manner or that the issues presented were

10

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 11 of 14 Page|D 14

“‘adequate to deserve encouragement to proceed further.'” §lagk,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 a n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that matter, three judges, that he or she would
prevail. It is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.’”

 

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,
463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘something more
than the absence of frivolity'” or the existence of mere
“good faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342
(cautioning courts against conflating their analysis of the merits

with the decision of whether to issue a COA; “The question is the

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Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 12 of 14 Page|D 15

debatability of the underlying constitutional claim, not the
resolution of that debate.”).6

In this case, there can be no question that any appeal by
this petitioner on any of the issues raised in this petition does
not deserve attention as the petition is time barred. The Court,
therefore, DENIES a certificate of appealability.

The Sixth Circuit has held that the Prison Litigation
Reform Act of 1995, 28 U.S.C. § 1915(a)-(b), does not apply to
appeals of orders denying habeas petitions. Kincade v. Sparkman,
117 F.3d 949, 951 (6th Cir. 1997). Rather, to appeal gp fp;ma
pauperis in a habeas case, and thereby avoid the $255 appellate
filing fee required by 28 U.S.C. §§ 1913 and 1917, the prisoner
must obtain pauper status pursuant to Federal Rule of Appellate
Procedure 24(a). Kincade, 117 F.3d at 952. Rule 24(a) provides that
a party seeking pauper status on appeal must first file a motion in
the district court, along with a supporting affidavit. Fed. R. App.
P. 24(a)(1). However, Rule 24(a) also provides that if the district
court certifies that an appeal would not be taken in good faith, or
otherwise denies leave to appeal ip fp;ma pauperis, the prisoner
must file his motion to proceed ip ;p;pa pauperis in the appellate

court. See Fed. R. App. P. 24(a)(4)-(5).

 

5 By the same token, the Supreme Court also emphasized that “[o]ur
holding should not be misconstrued as directing that a COA always must issue.”
lgp at 337. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not.” Id.

12

Case 2:05-cv-02376-BBD-dkv Document 5 Filed 07/21/05 Page 13 of 14 Page|D 16

In this case, for the same reasons the Court denies a
certificate of appealability, the Court determines that any appeal
would not be taken in good faith. It is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter
is not taken in good faith, and leave to appeal ip fp;ma pauperis
is DENIED. Accordingly, if petitioner files a notice of appeal, he
must also pay the full $255 appellate filing fee or file a motion
to proceed ip §p;pa pauperis and supporting affidavit in the Sixth
Circuit Court of Appeals within thirty (30) days.

IT Is so 0RDERED this ZOJ“ day of July, 2005.

  

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. DONALD
ITED STATES DISTRICT JUDGE

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This notice confirms a copy cf the document docketed as number 5 in
case 2:05-CV-02376 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Carlos L. Rice

WEST TENNESSEE STATE PENITENTIARY
259965

P.O. BOX l 150

Henning, TN 38041

Honcrable Bernice Donald
US DISTRICT COURT

